              Case 2:08-cr-00543-KJM Document 107 Filed 07/08/09 Page 1 of 2


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 7                                UNITED STATES DISTRICT COURT
 8                   IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA
 9

10   United States of America,                       )   Case No.: Cr.S-08-543-GEB
                                                     )
11                   Plaintiff,                      )
                                                     )   ORDER TO CONTINUE
12           vs.                                     )   STATUS CONFERENCES
                                                     )
13   Tian Bao Guo, et. al.,                          )
                                                     )   DATE: July 10, 2009
14                   Defendants                      )
                                                         TIME: 9:00 a.m.
                                                     )
15                                                   )   JUDGE: Hon. Garland E. Burrell, Jr.
                                                     )
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                                                     )
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                                                  ORDER
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            Based on the stipulations of the parties and good cause appearing therefrom, the Court
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     hereby finds that the failure to grant both of the requested continuances in this case would deny
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     respective counsel for all parties reasonable time necessary for effective preparation, taking into
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     account the exercise of due diligence. The Court specifically finds that the ends of justice served
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     by the granting of such continuances outweigh the interests of the public and the defendants in a
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     speedy trial.


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              Case 2:08-cr-00543-KJM Document 107 Filed 07/08/09 Page 2 of 2


 1           Based on these findings and pursuant to the stipulations of the parties, the Court hereby
 2   adopts each of the stipulations of the respective parties in their entirety as its orders.
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     IT IS SO ORDERED.
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     Dated: 7/7/09
 5                                                   Garland E. Burrell, Jr.
                                                     United States District Judge
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